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Sfr‘niw_l;rwa mr

""" Strongwater, Jay <jls@strontho.com>

..¢f' .s.¢=ncfams f.!

 

 

Coun

 

Southern Zax <southernzax@gmai|.com> Thu, l\/|ar 15, 2018 at 7:47 Pl\/l
To: "Jay L. Strongwater" <jls@strontho.com>

You asked before what l have done or been doing since seeing the judge and in my time on
probation so here are some of the things that l could think of and l hope l understood your
request properly, these are things l have done since then and or am still currently working on
that l am proud of and l have tried to format it so it’s more easy to read.

|. l did some freelance work on a social media parser for a person‘s study on how multiple
hashtags become unified under a single "master" hashtag somewhere down the line7 it
includes live monitoring of all of twitter regarding any set of hashtags that the script must
parse and any sub-hashtags alongside those and then taking each of those statistics and
working them into viable sets of data for him/his team to comb through, be it set to record
twitter for a few hours or read back a month it had to be fully customizable to track any
hashtag and sub-hashtags across the platform for their custom time and return the data in
a finished presentab|e format and then an extra script to compare the two datasets against
each other to find where their data overlaps and alongside this every line of code must be
extensively documented and commented for ease of modification in the future as their
research needs change all while following twitter's AP| guidelines

||. l helped out one of the speedrun streamers going to SGDQ my friend Whirlpool by styling
their Twitch stream around a summer kind of cardboard cutout theme (They speedrun
Super l\/|ario Sunshine & their name is water related hence the theme along with Summer
Games Done Quick)

A. https://i.imqur.com/oNdb€Qc.pnq < Banner

B. mps://i.imqur.com/CnLBpri.pnq < Panels

lll. l worked on many different bots for Twitch streamers who also attend SGDQ and are a
part of the speedrunning community, including the final revision which is a from the ground
up custom built complex multi-channe| bot that from one account monitors any number of
Twitch channels from allowing the moderators to automatically shout out channels that
they think their viewers would be interested in to adding quotes to a on|ine database of
stream quotes to even per-channel user right management for who could interact with
what commands and down to a simple keeper of time to manage how long the streamer
has been live for and for moderating the chat rules to keep people in line. lt also connects
to an easy web interface per-stream for ease of use by moderators for managing chat
behind the scenes and visually modifying the databases for the bot and rights
management ETC for the chat.

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A. As of now since the last update of the bot it has processed 15,014 messages across
chats.

B. Code Snippet: https://i.imqur.com/ZtEeJmk.png

|V. A bot that utilizes the l\/|icrosoft Bot Framework with lBl\/l's Watson B|uemix Text to Speech

Vl.

AP| to interact between two entire different chat services (|V|umble which is an open voice
channel for anyone with the address to join and talk & Skype which l am sure everyone is
familiar with) to automate acknowledgement of activity in one or the other to notify people
in either one that there is something happening so a user on Skype could actively type a
message to someone in the entirely different l\/lumble voice client and this bot would take
that message from skype and send it through lBl\/|'s voice processing and spit out a natural
human language speech file it then reads out to the |Vlumb|e chat group so they can be
aware of important things from Skype and whenever people Join or do something in the
|V|umble group the skype group can be automatically notified of it's activity the opposite
way to ease the use of both applications at once into one cohesive experience

A. Code snippet: https://i.imqur.com/L77W06h.pnq

l was originally working on an application for the home assistant A|exa so you could find
out when specific upcoming matches were for your favorite e-sports teams1 how they were
doing if they were playing a game at that time and all sorts of stats and statistics regarding
the current ongoing matches and many other interactive features that no other skill on the
assistant provided, l got as far as having the actual application retrieving statistics and
reading them out to the user before l stumbled upon a similar project started a few days
before mine so l reached out to the independent team working on it and they were doing it
for a programming jam coding competition (Simi|ar to Ludum Dare where you have a
certain amount of time to complete a project) so l canned the project so that they could
continue theirs as to not step on anyone's toes and there is no need for parallel
development of the same apps, so while this project was never completed it was definitely
worked pretty extensively on.

l entered a Ludum Dare 72 hour game jam with someone l randomly met online and never
knew previously so we partnered up for the project and he wanted to do the coding and l
would do the sound design so in the end there were over 24 unique sound assets used
and mixed by me. l also wrote, recorded and edited multiple unique boss lines including
the one above for the main vil|ain in the game, it's a puzzle game that has a randomized
solution everytime you play and had to be coded, art assets created sound created and
everything working and finished within 72 hours, while we didn't win first place or anything
we still made 27tst place out of 2866 entries for innovation with all around positive reviews
and have been in talks to enter another one again in the future with each other, here is a
couple of the sounds created as weird as they may be.

A. Ludum Dare: http://ldjam.com/

B. Crowd sounds with various machinery: https://vocaroo.com/i/stqNGYt365an

 

Vll.

Vl|l.

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C. Evil boss lines: https://vocaroo.com/i/stV38FchUHC
D. Death sounds: https://vocaroo.com/i/siN3onJpwa1

l created the custom subscriber notification sound for a popular Twitch streamer and
attendee/Official Speedrunner for the GDQ Charity Events, FireDragon aka FiFi whos
channel mascot is a cute little fire breathing dragon so it flys past the screen with a fiery
woosh with a cute excited squeal and then further flames fly by that fade away as the
subscriber's name is revealed

So this is something that you or they may not care much about but l think it says a lot
about the type of person l am and how much l live and breathe in the most nerdiest ways
considering l have encryption fights with my best friend (Who l actually met through
LGBTeens).

One of my best friends is British and since he lives across the sea we of course only get to
talk online, well due to the timezones we sometimes miss each other so we will leave
offline messages for each other in code form because it fascinates us and lately we have
been learning a lot about various encryptions because it’s fascinating and we both love
learning new things and challenging the other, it has reached such increasingly
exponential steps of encryption that my personal key to the steps to solving the message
is stored in a 17 page document.

lt goes through various methods including jumping from Base64 to Binary to Hex to Octal
and eventually getting to a website link that is a picture and the picture is actually created
with steganography which is an image that has been encoded with a hidden message in
it's very pixels and code that he must then crack to de-encrypt the image and then gets an
even more complex key that eventually fo|ds down to another link to an image which is
even more complicated because it's not actually an image it's a secret archived file that
has a text file inside of it that then has a further code going down even more layers until
we get to a custom web page that has an interactive piano he must play the notes of the
only song on piano he remembers from his childhood lessons which then reveals to
another webpage that has an audio file and this audio file sounds like horrific screeching
but if you pay attention to hints from previous steps you will eventually discover this
random screeching is not random it is actually Audio Steganography, he must then take
that audio file into a sonic analyzer and read the spectrograph results out that then gives
him the next step of the puzzle which after a few more steps he will receive a new audio
file that is morse code that then after a few more steps leads to another complex side
puzzle needed to solve a future part of the puzzle and then a few more steps later he
receives my reply to his previous message and then he creates his reply.

. Every year there is an event for a game called League Of Legends that draws millions

upon millions of viewers and participants to the League Of Legends Wor|ds event, the
previous one was held in China in the olympic stadium and sold out, to coincide with the
event they run something called "Pickems" where you can try to guess the placement of all
of the teams and whoever manages to guess every single one correctly gets a prize and

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so l placed my bets and was curious on the statistics of the event so over a few weeks
using Riots public API l gathered 16 million bits of data and aggregated it into various
interactive statistical forms such as graphs and other things.

The hardest part of the entire system was ensuring A that we got the data as fast as
possible while B not negatively affecting Riot Games by making sure not to hammer their
site to get the data and to follow their data guidelines7 | eventually created what l believe to
be the most efficient the script could have possibly gotten after weeks of optimizing with
the highest speed possible and gathered all the complex data after voting was over and
compiled this information to share with the community because large data sets are
fascinating and l think it is cool to see who thinks what teams will win in a big competitive
gamel Even more the results were entirely mind blowing to the bias that some people
expected for various teams, plus it was the largest amount of data l have ever handled at
once and learned a ton of new things in handling such a large pipeline of data and to
optimize the processing of it.

/-\. One of the graphs l made from the data: https://i.imgur.com/Zlele.pnq

 

B. https://en.wikipedia.orq/wiki/Leaque of Leqends World Championship

. Something that fascinated me during the pickems process was using that data to attempt
to predict actual winners if combined with more data about the various matches and it
happened to line up with another major interest of mine which if l had a job in the
technology field is what l would want it to be based around because nothing fascinates me
more than l\/|achine learning/Neural networks it's such a fascinating technology and so
cutting edge that l have actually started doing the work to enter that field over the last year
and is easily the hardest undertaking l have ever experienced

Before the news hit me l have actually been gearing up to enroll on l\/larch 19th in Stanford
University’s 03229 or l\/lachine Learning online courses taught by Andrew NG who is a
legend in the field for so many reasons l could go on and on about from founding deep
learning algorithms at Google to the work he has done at Stanford with open courses and
his very well known l\/lachine Learning course he is very well known in the community and
a very big idol of mine.

ln order to partake in the course and finish it and get the certificate some of the advised
math needed is Linear Algebra, Probability Theory & Statistics, l\/lultivariate Calcu|us,
Algorithms & Complex optimizations among many other complex topics, l mean one of the
basic starting principles taught in the course is utilizing l\/lultivariate Linear Regression so it
is definitely a tough course but l have been working really hard on preparing for itl

lt takes a bit of understanding of my education in life to understand why it’s particularly
difficult for me, l originally was removed from school around Kindergarten by my parents
choice for me to be homeschooled which turned out to be a horrible decision as a year or
two into the homeschooling so l suppose around 2nd-3rd grade in the early 20003 my
l\/lom started to lose her family very quickly one by one from various incidents including her

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l\/lother and grandfather and grandmother and countless other people so she fell into a
deep depression and my schooling slowed until it finally stopped and wasn’t picked back
up and it’s one of the main reasons all of my friends are across the world, all of my friends
are in different states, countries, and continents.

So l do my best to learn on the computer by myself which of course was very lonely and
depressing at times over the years not having friends physically or being able to achieve
any of the milestones most kids experience like school dances/prom/quizzes/essays Etc
instead l spent my time online learning and meeting people and falling in love with
technology which is what ended up with me falling in love with Android and then making
Applanet which is how we are where we are today.

With having never really lead a normal life and never having had an education l\/lath is one
of the harder things for me to do since l only ever learned the basics which is why this
course is so hard for me but something l am very passionate about and have been
working on teaching and bettering myself to try to be as productive as l can be, l want to
be one of those people like Andrew NG sharing knowledge and bettering the world with
what he learned and not only using that knowledge but improving on what is out there and
giving to the community7 it’s one reason l love LGBTeens because l can reach out to many
people who are lonely and need help and give them advice because l have been there, l
know how it feels and l can relate and use that experience to do things like that and l think
it also has the chance in the future to be an inspiring story to go from where l am today
with these legal troubles and no actual education to being able to be in this extremely
complex cutting edge field and l think it’d be pretty inspiring to those out there that think
they can’t do something and that’s really exciting and motivating.

ln order to do that though a lot of my time is spent on Khan Academy working on these
l\/|ath topics lately to prepare, lt’s far more difficult than anything l have ever worked on
and outside of Khan Academy have been utilizing other resources such as YouTube and
actually an amazing website mathsisfun.com that help an amazing amount to fill out those
very specific topics, you can even see some of my progress here on various topics
working my way up the world of Calculus and Algebra in ETC in the screenshots l
definitely still have a lot of work to do but l am proud with how it has been going.

Now it certainly won’t be easy and l may not even be able to make it in time for the course
on the 19th due to the sentencing hearing and have to wait a bit for their next time they
teach it depending on how things go but that’s okay l am dedicated to this and am going to
complete this course and since it is still such a budding field like l said earlier l am really
excited to use my knowledge to try to help expand the field with research into optimizing
algorithms or other revolutionary ideas, one concept l had that l would love to flesh out in
the future is using machine learning to teach hives of drones to work together to capture
an area with video and then to stitch together images of the area and combined with UAV
LiDAR with UAV photogrammetry to map out an area in not only high visual detail but as
well as accurate elevation detail stitching that data together quickly of an area and being
able to utilize it in a VR headset so with as little effort as possible you can map out large

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areas and review them even when you are thousands of miles away or for historically
educational purposes such as museums and even professional environmental surveyance
or maybe something as simple as showing someone who is on their deathbed their
hometown one more time with a tour that doesn’t require them to be able to fly somewhere
and make the trip themselves all the visual fidelity without the exertion among any other
countless needs, there’s just so much you can do and there are actually people working
on these individual technologies today but l think there are definitely innovations to be
made in the field and it's pretty fascinating to think of combining all those technologies
together, but the first step is acquiring the math knowledge and enrolling in the course and
then going from therel

A. https://i.imqur.com/nKeiaNK.png
B. https://i.imgur.com/G6iquH.pnq

C. https://i.imqur.com/PuchPi.pnq

 

D. https://i.imqur.com/4Hsa7fc.pnq

From July 3rd to July 11th in 2016 l attended SGDQ (Summer Games Done Quick) which
is the summer variant of the Games Done Quick Charity l\/larathons that run a week
straight on the live video streaming platform Twitch, l am a part of the speedrunning
community and have for many many years watched GDQ as it's a passion of mine and it's
amazing to be able to use something you feel passionate about to affect others positively
with charity and | have always wanted to be able to go to one and experience it in person
and be a part of raising the money instead ofjust donating from home and l was finally
about to go in 2016 to SGDQ as l had enough friends in the community to split a room with
me and we could all go and support our friends playing a game in the marathon.

The event in 2016 was raised in benefit to Doctors Without Borders and in the end we
raised 1.3 l\/lil|ion dollars over the week via donations from viewers at home (The
broadcast usually has a few hundred thousand people watching at all times 24/7 during
the entire weeklong marathon), the speedrunning community has games that they grew up
with and loved or discovered later in life and fell in love with and are passionate about and
try to beat them in the fastest time possible competing with others around the world to find
new innovative ways to get faster and faster and more competitive and to try to hold the
world record in their game of choice or to just get better and better, and this event brings
together all those people from around the world to come under one roof and play their
games on schedule for a week straight and show off what they are passionate about to
hundreds of thousands of unique viewers over the week and explain why they love their
game show off cool tricks and glitches in the game to entertain the audience and raise
money with these speedruns that may last a few hours to a few minutes to even a few
seconds in the event of TAS (Tool assisted speedruns, basically Al that do perfect
speedruns to see the fastest time possible that isn’t possible by humans)

l personally speedrun the games Super l\/lario Sunshine and The Legend Of Zelda:

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Ocarina Of Time, but l have been thinking of finding a unique game to speedrun to give
back to the community and enter into a future GDQ which l am very excited about! l also
wish to return as staff that arrive early and help setup and manage the event throughout
the entire week to help them run the marathon or maybe help code systems on the
backend for the donations and do all l can because l am super passionate about them and
love the community so much, l have never seen more kind and passionate people all
sharing a connection over something mostly everyone can enjoy to some extent which is
escaping to a game you love and enjoying yourself with the people you love, and with this
event we not only get to do that but raise money for great charities like Doctors Without
Borders and the Prevent Cancer Foundation which is very close to my heart, it may be
extremely nerdy and even weird to some that don't get it but you don't have to understand
wanting to beat a game that you love as fast as is humanly possible after months/years of
training and effort to be the best to understand how amazing it is to raise just over 14.5
million dollars total across all of the marathons so far, and it only increases every eventl
A. https://en.wikipedia.orq/wiki/Games Done Quick

B. The charity main event room https://i.imqur.com/aSoEUi4.qu
C. Another more intimate crowd picture https://i.imqur.com/p4NY35n.qu

D. Standing up applauding during one of the last main events
https://i.imqur.com/foyl\/lza_qu

E. Near the end where some people went up front to sing for the stream
https://i.imqur.com/txxCulb.jpg

 

F. The lobby of the hotel for the event with a bunch of attendees standing around
having a good time on one of the final nights https://i.imqur.com/k1lK67m.ipq

G. Outside the event room a bunch of the speedrunner s this year and staff and
various other attendees etc had gathered excited near the ending for how much we
had done https;//i.imqur.com/SsznSG.jpg

H. The main lobby of the hotel as people were departing https://i.imgur.com/b1TQbOj_
199

|. People standing by with bags getting ready to leave saying their goodbyes till next
event https://i.imgur.com/EoXSzNz.ipq

J. l\/le and FireDragon l mentioned earlier that l created a sub sound for
https://i.imqur.com/CFWHKaa.jpg

K. lVle and another person who knows me well in the community and is a popular
streamer/speedrunner Sniperking (and runs a game at GDQ as well l believe)
https://i.imqur.com/4chh2A.jpg

 

L. l\/le and another streamer/Speedrunner Alanzon who is also a close friend and l
believe has run a game for GDQ before https://i.imqur.com/u1chiO.qu

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l\/l. |Vle and another streamer/Speedrunner and friend RedFalconGames aka Sam
https://i.imqur.com/2rl-`ale.qu

 

N. l\/le and another streamer/speedrunner Cheese05 who has a popular race at the
event and usually holds multiple world records in Super l\/lario 64 and a ton of other
games https://i.imqur.com/aqjl\/ls7f.qu

 

O. l\/le and another streamer/speedrunner Raysfire, his stream is where l met all of my
friends l went with and who are still my best friends to this day
https://i.imgur.com/§l\/l§qARQ_qu

P. ln green is whirlpool and on the left of her is Javier https://i.imqur.com/vBFdAoB.qu
(These were my roommates and friends who l shared a room with, l\/links not
pictured)

 

Q. A somber shot from behind of my friends/roommates on a bench right as we were
about to leave for the airport saying our goodbyes https://i.imgur.com/JKJquS.qu

X||. l moderate/run the largest Reddit community for LGBT Teenagers to come join
anonymous|y and seek help if they need important life advice in figuring out who they are
and what to do or how to come out or even if it is safe for them to come out and what
resources we might can suggest to them to help them alongside our wonderful community
of people who understand how hard it can be to be something that is seemingly accepted
more and more now days but at times can be even more important to hide depending on
your home life or various other situations surrounding you, we are there for those in the
most high importance of needs from suicidal thoughts to struggling with hating themself for
what they are to worrying their parents will hate and abandon them (Or their parents
already have) down to those that just want to post complaining about their crushes that
they are struggling with, it's not just LGBT Teenagers either7 we have a host of Academic
researchers, various broadcasting companies/news stations among other things reaching
out to us for the chance to get important answers from our importantly unique
demographic for their research and studies and to provide resources/experiences to those
in the community,

Some of our favorite people that contact us are concerned parents who want to do the
best they can for their kid that they can tell is struggling with being LGBT and they reach
out to us for help on how they can best help their child which is really astounding
considering how many kids you hear from that are disowned and just want to be
loved/accepted, so we do our best to be a loving and accepting community, and it can get
out of control at times trying to control not just teenagers but a 25k+ teenagers community
that are also struggling heavily emotionally/physically with whatever it might be alongside
other more normal teenager problems so it's not always been perfect but we've clearly
struck the right cord as you can see in these examples l will show in a bit for these people
grew up with us and we grew up with them.

We get a lot of people posting that are past their teens who are saying goodbye since they

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feel they aren’t allowed to post anymore since they are too old (Anyone can stay as long
as they make their age known in their flair so they are more than welcome for the
seasoned advice which l am always excited to tell theml) and wanted to thank us for all we
have done for them to help them from depression or |oneliness or both and point them in
the right way.

l am pretty proud of what we have done here on the subreddit and my contributions
include designing the CSS (Coding the subreddit’s theme)7 done 90% of the moderator
actions lately, coded the few hundred lines of code of Automoderator to automatically
moderate the subreddit to a degree, enforce a complex custom flair identification system
on a post by post basis that are famously difficult to setup and moderate/manage along
with the design of the subreddit and many other things if there is one thing l am incredibly
proud of throughout these years besides SGDQ related things it's definitely all of the
amazing people l have met here and lives l have personally helped to change and those
we indirectly touched, lost souls we gave a home too and the voices we gave to the
voiceless.

l also work very closely with the Reddit administrators to take care of any creeps going
around the subreddit and to properly file to have them removed/shadowbanned and
investigated to keep our users safe, it's of course never going to be perfect but we do what
we can and the growth speaks for itself as you can see the growth is fantastic
https://i.imqur.com/ailfqu.pnq

 

The only unfortunate thing is the other moderators are far too busy in life to properly
nurture the subreddit so l am the main one behind it for the most part as you can see in
this graph (l am Pamander) https://i.imqur.com/HnTl7uq.pnq between December 14th
2017 and Today l\/larch 14th 2018 l have done 89% of all moderation actions on the
subreddit, this is excluding my Automod l coded to take care of the extra work load l have
took on to keep the community running well but even with him l still do 56% of the work
seen here with his numbers included: https://i.imqur.com/Obm7ikk.png but it shows just
how well he works considering he gets more work done than every other moderator beside
me combined by a large amount and l continue to tweak him daily to get even betterl

l also own and maintain our largest LGBTeens interactive map ever:
https://www.zeemaps.com/map?qroup=1299850 l personally hand curate the map to my
best degree it has a few thousand pins and users are encouraged to post here to show not
only support for those in the area that they are not alone that there are others around you
like you but also so you can see if there are people you might want to message from your
areal They are of course advised to place the pins a few cities/a state away or so but past
that it has been extremely successful and well loved, this is actually the second versionl
The first version got so popular we had to clear it and start over because it was so
crowded we had to setup a better more controlled one which is the map we utilize now.

l actually know a few couples personally on the subreddit who have met from seeing this
map and l think that's really awesome, and l have heard from people who like to check the

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map just to know they aren't alone it can be pretty inspiring in depressing times.

When l joined the subreddit a few years ago (| want to say l\/larch 2013 l believe) we had
maybe 1k-2k subscribers and now we just hit the 25k milestonel Not just amazing for this
LGBT community but also in general, we are the 3,706th largest subreddit out of
1,209,754 other subreddits which is pretty cool, l won't lie it can be stressful running the
place as sometimes the Teens get angry because they do not understand that the rules (l
wrote all of our rules and guidelines) are to protect them from either predators or
themselves which is why we don't even provide a live chat like a Discord or Skype group
because we don't believe we have the resources to properly moderate it safely enough for
them 24/7 othen/vise we would gladly have one, l can't stress how much | love the
community and how much it has grown and it's one of the few things in life l am extremely
proud of, it's where l met most of my closest friends and have helped save a ton of other
people and help them find themself and one of my biggest fears besides not being able to
be there for my brother is being pulled away from them and this community and not being
able to help them and it prosper but should l be l believe they will still thrive because the
users are quite inspiringl

Here are some various things talked about above.

A. A sample of people who have contacted us to reach out to our community for
important research they are doing.

1 . Researchers at The Department of Psychology at Harvard University
(approved by the Human Research Protection Program institutional Review
Board (IRB) at Harvard University.)

2. Doctoral Candidates performing a study for the University of Toronto

3_ Research associates at Ann & Robert H. Lurie Children's Hospita| of
Chicago's Center for Gender, Sexuality and HlV Prevention (For a study being
done in Birmingham, New York City, and Seattle with the University of
Alabama, Co|umbia University, and the University of Washington,
respectively.)

4. Graduate students working with the nonprofit organization Brave Trails

5. Gabe l\/lurchison the l\/lPH Senior Research l\/lanager at the Human Rights
Campaign Foundation

6. The institute for Sexual and Gender l\/linority Health and Wellbeing (lSGl\/lH)
at Northwestern University

7. Sexual health researchers at UNC chapel hill

8_ The USC Youth lab who had been trying to get their survey completed for
nearly a year with other resources and within a few days of posting with us we

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had their entire quota fulfilled they sent us a personal thank you message
seen here: https://i.imqur.com/9V3WUuZ.pnq

9. ln relation to the above one for a federally funded study we were reached out
to by one Dr. Sheree Schrager, Director of Research, Children's Hospita| Los
Angeles7 on behalf of the USC Youth Lab.

10. Lauren l\/lclnroy a PhD student at the University of Toronto and a research
coordinator on their project #Queery

11. The British Channel 4 reached out to try to find casting for a new educational
series on LGBT communities for their station.

12. There’s plenty more but l capped it at those due to list length

B. One of the parents l was talking about reaching out to us as well as an example of
various people reaching out to us how they grew with us over the years.

1. https://i.imqur.com/JVVvtkvx_pnq
2. https://i.imgur.com/JOCPQal.pnq

3. https://i.imqur.com/BLF2YXH.pnq

 

4. This one in particular because l have known this person all those years since
they were 15/16 considering l have been here for years and seeing this post
really meant a lot to me and meant we have been doing things right:
https://i.imqur.com/LpUYZce.pnq

5. You can really see we are growing a supporting loving community here
everyone is welcome just as long as you try to make someone else's day
better. https://i.imqur.com/NQNk7CT.pnq

6. There are many more including stories of how people met and fell in love on
here and have now been together for years locally which is astounding.

Xlll. Now finally, one thing l am a bit worried about when facing this situation is my younger
brother Brent, we have told you about him before with his health issues if you remember
we weren't able to be over there in Atlanta too long before because my l\/lother had to be
back here to make sure she could get him to his doctor's appointment (He has doctors
across multiple states due to the many specialists needed) and he can't be left alone too
long for concerns of his health7 l have personally found him on the floor a few times before
from his health issues and he wasn’t able to get to anything to call for help so l was able to
assist him after he hurt himself during the fall from his twitching (Twitching isn't the best
word for it because it almost degrades it to sound not as bad as it is but he loses full
control of his body it's a type of seizure) which is one of the many health reasons why he
still lives here he cannot make it on his own he has to have assistance

As far as his issues go to start with his |\/lRls are abnormal with thinning of his gray matter

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over time which means his issues only gets worse as his gray matter slowly deteriorates,
He has a benign neoplasm on his optic nerve and has vision problems He has cognitive
impairment as weil as Speech impairment and people who aren't family that haven't been
around him have extreme difficulty understanding him (i actually for nearly ali of our
childhood into our teens growing up had to be at his side at all times to translate for people
because i was used to it) he also has a speech therapist to try to improve what they can.
He has a type of seizure called transient alterations of awareness among a myriad of other

issues i haven't listed l mean he is actually written about in medical journals due to his rare
conditions

l\/ly grandparents have custody of their great grandchildren and my mom goes up there
everyday to be with them to ease the load because they're elderly We can't have custody
of the kids because of Brent and the loud noises cause his twitching so l am able to be
here for him while my mother is gone to take care of the kids, He has essential tremors,
abnormal involuntary movements and periodic limb movement disorder Loud unexpected
noises and stress make these worse

So i am a bit worried for him ifi do end up going to one of the camps l won't be able to be
here to watch him when my mother is with the kids at my grandparents Being stuck at
home has been a bonus to my probation in a way i never expected, that way if he is
having issues like falling or something he has someone here who can contact my mom or
assist him in any way i can. Of course l don't expect this to actually change a decision
made or expect a difference in decision just because of my brother‘s health problems it's

just something that is important to me that l figured i would remind you of as weil because
it's definitely a concern.

Airight l hope l answered your question Jay and this list resolves your request in any way to show
What l have been doing and am working on currentiy, this isn’t everything by far of course i also
didn’t list art i have been doing personally like some surrealistic pieces i have created for various
gifts for friends and family and just to express myself but if you ever want to see those too i can
share those, thank you and l hope this is what you were asking for.

- Aaron Buckiey

